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                        UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF PENNSYLVANIA
____________________________________
AC2T, Inc., d/b/a Spartan Mosquito,  :
                                     :   Civil Action
             Plaintiff,              :   Case No. 2:19-cv-05946-RBS
                                     :
             v.                      :
                                     :
Colin Purrington,                    :
                                     :
             Defendant.              :
____________________________________:

                                JOINT STATUS REPORT

       In accordance with Federal Rule of Civil Procedure 26(f), counsel for the parties
conferred on April 17, 2020 and submit the following report of their meeting for the
court’s consideration:

1.      Counsel participating in Rule 26(f) conference

        Counsel for Plaintiff: Evan L. Frank, Alan L. Frank, Jaclyn H. Frank

        Counsel for Defendant: Paige M. Willan

2.      Discussion of claims, defenses and relevant issues

        Plaintiff’s position:

        This is a defamation case. The Plaintiff makes a product called the Spartan
Mosquito Eradicator, which is a mosquito control system. The Defendant has been
telling customers that the product puts them and their families at risk of contracting
diseases such as EEE and West Nile. He tells customers that the product helps spread
an invasive species, that Spartan Mosquito is scamming customers, and that Spartan
Mosquito lies to regulatory agencies. The Defendant makes false allegations that the
product does not even contain a pesticide (it does), that leaving out the pesticide lets the
product avoid government regulation (it is in fact government-regulated), and that
mosquitoes cannot fit inside the product to drink the insecticide (they can, and there is
literally a video on Spartan’s website of them doing so). He has sent similar defamatory

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 statements to state regulatory agencies and asked them to outlaw the product. The
 Plaintiff seeks monetary damages for defamation and commercial disparagement.

         Defendant’s position:

         Mr. Purrington contends that Spartan brought this suit as retribution for
 Mr. Purrington’s constitutionally protected speech concerning the false and misleading
 statements that Spartan has made about the performance and efficacy of its product. In
 fact, numerous states have refused to permit Spartan to sell its product to their citizens,
 apparently because of those false and misleading statements. The blog and social media
 posts concerning Spartan’s product upon which it bases this suit are either true, are
 statements of Mr. Purrington’s opinion, or were made as a part of Mr. Purrington’s
 advocacy to state and federal governments concerning the regulation of pesticides.
 Accordingly, none of those statements are actionable as defamation or commercial
 disparagement. In addition, Mr. Purrington notes that Spartan has failed to identify
 even a cent of actual damages it has incurred that was caused by Mr. Purrington’s
 posts. That fact further demonstrates that Spartan’s claims are deficient as a matter of
 law and motivated solely by a desire to silence an individual exercising his right to
 petition the government.

 3.      Initial disclosures

         The parties agree to exchange initial disclosures on or before May 1, 2020.

4.       Formal discovery

        The parties anticipate that discovery should be completed within 120 days
 following the date that Defendant’s Answer is submitted.

        The parties do not believe they have any unusual circumstances or issues relating
 to discovery.

        Plaintiff contends that a confidentiality order is likely appropriate in this case to
 protect intellectual property and other highly sensitive information. Defendant does
 not believe that a confidentiality order is necessary in this case, but is willing to
 consider a reasonably drafted confidentiality stipulation that would address any
 reasonable confidentiality concerns. Plaintiff has not yet provided any proposed
 confidentiality stipulation or proposed order to Defendant for his consideration.



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      The parties also agree that a standard claw back agreement for inadvertently
produced privileged documents is appropriate.

5.      Electronic discovery

       Defendant has requested that Plaintiff take steps to preserve materials that were
previously posted on its website, which has been changed significantly in the past
several months to remove false and misleading claims concerning Plaintiff’s product
that were previously contained on that page.

       The parties do not believe there are any other unusual circumstances or issues
relating to electronic discovery.

6.      Expert witness disclosures

      The parties agree that expert reports will be exchanged 60 days before the
discovery end date.

      Rebuttals will be exchanged within 30 days after the expert reports are
exchanged.

       If the expert is specifically retained to provide expert testimony in the case, the
reports must conform to Fed. R. Civ. P. 26(a)(2)(B), unless otherwise agreed to by the
parties. If the expert is not specifically retained, the reports must conform to Fed. R. Civ.
P. 26(a)(2)(C), unless otherwise agreed to by the parties.

        Pursuant to Fed. R. Civ. P. 26(b)(4)(A), leave of court is not required to depose a
testifying expert.

7.      Early settlement or resolution

      The parties do not believe a settlement conference would be helpful, and that
discovery is necessary before any mediation occurs.

8.      Trial

        The parties estimate that the length of trial will be 5-7 days.

9.      Other matters


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       Plaintiff intends to amend its Complaint in order to add new defamatory
statements that were made after the Complaint was filed and/or add new parties if
necessary, after taking certain discovery. Plaintiff’s position is that Plaintiff should be
able to amend within 30 days after Defendant’s Answer is filed.

      Defendant’s position is that any amendments of Plaintiff’s Complaint should be
governed by the rules set forth in Rule 15 of the Federal Rules of Civil Procedure.




                                                  Respectfully submitted,

                                                  /s/ Evan L. Frank
                                                  _______________________________
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                                                  Counsel for Plaintiff

                                                  /s/ Paige M. Willan
                                                  _______________________________
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                                                  Counsel for Defendant
April 27, 2020




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